          Entered on Docket September 10, 2012
                                                        Below is the Order of the Court.


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                                                         ______________________________
2                                                        Paul B. Snyder
                                                         U.S. Bankruptcy Judge
3                                                       (Dated as of Entered on Docket date above)


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       __________________________________________________________________________
7                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          WESTERN DISTRICT COURT OF WASHINGTON
8

9    Re
                                                          In Chapter 13 Proceeding
10
                                                          No. 11-49795-PBS
11   JAY L. HINRICHS
                                                          ORDER AVOIDING
12                      Debtor(s)                         JUDGMENT LIEN(S)

13
     ______________________________
14
         It is ORDERED that the judgment liens of the following creditors be and hereby declared
15   null and void with respect to the property commonly known as 21622 83rd Ave E Spanaway,
     WA 98387, WA 98498 as long as the Debtor(s) receive a discharge in this case:
16
     Citibank NA vs. Jay L. Hinrichs, In the Pierce County Superior Court, State of Washington,
17
     Cause No. 11-2-11895-4 entered August 10, 2011 in the amount of $46,482.81 Judgment
18
     Number 11-9-08977-1.

19                                          /// end of order ///

20   Presented by:
                                                 :
21   /s/ Ellen Ann Brown
     ___________________________
22   ELLEN ANN BROWN WSB#27992
     Attorneys for Debtor(s)
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